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 9                                 UNITED STATES DISTRICT COURT

10                               WESTERN DISTRICT OF WASHINGTON

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12 CNA INSURANCE COMPANY, LTD., a                        IN LAW AND IN ADMIRALTY
   corporation;
13                                                       Case No. 3:20-cv-5884

14                  Plaintiff,                           PLAINTIFF’S COMPLAINT IN
                                                         ADMIRALTY FOR DAMAGE TO OCEAN
15                                                       CARGO
            v.
16

17 WALLENIUS WILHELMSEN LOGISTICS
   AS (“WWLAS”), WALLENIUS
18 WILHELMSEN OCEAN AS (“WWOAS”),
   AND WALLENIUS WILHELMSEN
19 LOGISTICS AMERICAS LLC; and DOES 1-
   20;
20
              Defendants.
21

22          Plaintiff’s complaint follows:
23          1.      Plaintiff CNA INSURANCE COMPANY, LTD. (“CNA”), is now, and at all times
24 herein material was the insurer of the cargo that is the subject of this lawsuit.

25          2.      Plaintiff is informed and believes, and on the basis of that information and belief
26 alleges that WALLENIUS WILHELMSEN LOGISTICS AS (“WWLAS”), WALLENIUS

27 WILHELMSEN OCEAN AS (“WWOAS”), and WALLENIUS WILHELMSEN LOGISTICS

28 AMERICAS LLC (“WWLA”) (jointly, the “Defendants”), are now and at all times herein material
     PLAINTIFF’S COMPLAINT IN ADMIRALTY FOR DAMAGE TO OCEAN CARGO                       GIBSON ROBB & LINDH LLP
     Case No. 3:20-cv-5884; Our File No. 5478.10                                          201 Mission Street, Suite 2700
                                                                                               San Francisco, CA 94105
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            Case 3:20-cv-05884 Document 1 Filed 09/01/20 Page 2 of 3



 1 were engaged in business as common carriers for hire within the United States and within this

 2 judicial district, calling regularly at the Port of Tacoma.

 3          3.      Plaintiff’s complaint contains a cause of action for damage to cargo arising under a

 4 statute of the United States, namely the Carriage of Goods by Sea Act, 46 U.S.C. § 30701 Note,

 5 and is therefore within the jurisdiction of this Court pursuant to 28 U.S.C. § 1331, as more fully

 6 appears herein. Additionally, the Court has admiralty jurisdiction pursuant to 28 U.S.C. § 1333.

 7 Venue is proper under 28 U.S.C. § 1391(b).

 8          4.      This is a cause of action for damage to ocean cargo, and is an admiralty and

 9 maritime claim within the meaning of Rule 9(h), Federal Rules of Civil Procedure, as hereinafter

10 more fully appears.

11          5.      Plaintiff is informed and believes, and on the basis of such information and belief

12 alleges that, on or about May 16, 2019, at Southampton, United Kingdom, Defendants, and each

13 of them received a shipment of (1) HP JCB 220X Excavator, (2) HP JCB JS145 Tracked

14 Excavators, (1) HP JCB JZ141 Excavator, and/or related equipment (the “Cargo”), for carriage

15 under Wallenius Wilhelmsen Ocean Sea Waybill No. GB1928771, and others, issued by and/or on

16 behalf of said defendants. Defendants, and each of them, agreed, under contracts of carriage and in

17 return for good and valuable consideration, to carry the Cargo from Southampton, United

18 Kingdom to the Port of Tacoma, and there deliver said cargo to the lawful holder of the
19 aforementioned bills of lading, and others, in the same good order, condition, and quantity as

20 when received.

21          6.      Thereafter, in breach of and in violation of said agreements, Defendants, and each

22 of them, did not deliver the Cargo in the same good order, condition, and quantity as when

23 received at Southampton. To the contrary, Defendants, and each of them, delivered the Cargo in a

24 damaged condition due to rough and/or careless handling. Damage, destruction, and survey costs

25 incurred due to the Defendants’ failure to deliver the Cargo in good order and condition is in the

26 amount of $95,592.11.

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28 / / /
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 1          7.      Prior to the shipment of the herein described cargo and prior to any loss thereto,

 2 CNA issued its policy of insurance whereby CNA agreed to indemnify the owner of the Cargo and

 3 its assigns, against loss of or damage to the Cargo while in transit, including mitigation expenses,

 4 and CNA has therefore become obligated to pay, and has paid to the person entitled to payment

 5 under said policy the sum of $95,592.11.

 6          8.      Plaintiff has therefore been damaged in the sum of $95,592.11, or another amount

 7 according to proof at trial, no part of which has been paid, despite demand therefor.

 8          WHEREFORE, Plaintiff prays that this Court enter judgment in its favor and against

 9 Defendants, and each of them; that this Court decree payment by Defendants, and each of them, to

10 Plaintiff in the sum of $95,592.11, together with prejudgment interest thereon and costs of suit

11 herein; and that Plaintiff have such other and further relief as in law and justice it may be entitled

12 to receive.

13

14                                                 Respectfully submitted,

15 Dated: September 1, 2020                        GIBSON ROBB & LINDH LLP

16

17                                                 /s/ NATHANIEL M. SIMONS
                                                   Nathaniel M. Simons, WSBA No. 56126
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                                                   CNA INSURANCE COMPANY, LTD.
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